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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION

 WHOLESALE SCREENING SOLUTIONS, LLC, )
                                     )
                      Plaintiff,     )
                                     )
                   v.                )                         No. 3:20-cv-00158-RLY-MPB
                                     )
 CRIMINAL RESEARCH AND               )
 INVESTIGATIONS, INC., et al.        )
                                     )
                      Defendants.    )

                      ORDER TO FILE STIPULATION OF DISMISSAL

        This matter is before the Court sua sponte.    On December 3, 2020, the parties to this

 case advised the Magistrate Judge that they had reached an agreement to settle the case. More

 than forty-five (45) days have passed and the parties have failed to file their Stipulation of

 Dismissal.

        The parties are ORDERED to file their Stipulation of Dismissal by not later than thirty

 (30) days from the date of this Order. The parties’ failure to file the necessary stipulation of

 dismissal by that date may result in an order of involuntary dismissal being entered pursuant to

 Fed. R. Civ. P 41(b) for failure to comply with this Order of the Court.

        SO ORDERED this 20th day of January, 2021.




 Service will be made electronically on all ECF registered counsel of record.
